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United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA-SA

Case number ~irknown~                                                     Chapter     11
                                                                                                                         ❑ Check if this an
                                                                                                                           amended fling




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           o6~2z
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name               HeyCart Inc                                                                                                              ___


2.   All other names debtor
     used in the last 8 years
     Include any assumed         Doing business as Smirly
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification     XX-XXXXXXX
     Number (EIN)


4.   Debtor's address            Principal place of business                                   Mailing address, if different from principal place of
                                                                                               business

                                 2600 Michelson Dr., #1430
                                 Irvine, CA 92612
                                 Number, Street, City, State &ZIP Code                         P.O. Box, Number, Street, City, State &ZIP Code

                                 Orange                                                        Location of principal assets, if different from principal
                                 County                                                        place of business
                                                                                               Heycart Inc
                                                                                               clo Tongcheng Logistics Inc.(third party 3PL)
                                                                                               566 Vanguard Way, Unit A
                                                                                               Brea, CA 92821
                                                                                                                   --                   ---
                                                                                               Number, Street, City, State &ZIP Code


5.   Debtor's website (URL)      www.smirly.Co m


6.   Type of debtor              ■Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                 ❑ Partnership (excluding LLP)
                                 ❑ Other. Specify:




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Debtor     He ycart _Inc                                                                            Case number (if known)
                                                 -----------._.
           Name


7.    Describe debtor's business A. Check one:
                                 ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                    ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                    ❑ Railroad (as defined in 11 U.S.C. § 101(44))
                                    ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                    ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                    ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                    ■ None of the above

                                    B. Check all that apply
                                    ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                    ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                    ❑ Investment advisor(as defined in 15 U.S.C. §80b-2(a)(11))

                                    C. NAICS (North American Industry Classification System)4-digit code that best describes debtor. See
                                      http://www.uscourts.q ov/four-d iq it-national-association-naics-codes.
                                           4422

8.    Under which chapter of the Check one:
      Bankruptcy Code is the         ❑Chapter 7
      debtor filing?
      A debtor who is a "small       ~ Chapter 9
      business debtor" must check ■Chapter 11. Check all that apply.
      the first sub-box. A debtor as
      defined in § 1182(1) who                    ❑ The debtor is a small business debtor as defined in 11 U.S.C.§ 101(51 D), and its aggregate
     elects to proceed under                           noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      subchapter V of chapter 11                       $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     "small business debtor") must                     exist, follow the procedure in 11 U.S.C. § 1116(1)(6).
      check the second sub-box.                   ❑ The debtor is a debtor as defined in 11 U.S.C.§ 1182(1), its aggregate noncontingent liquidated
                                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                       proceed under Subchapter V of Chapter 71. If this sub-box is selected, attach the most recent
                                                       balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                       any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(6).
                                                        ❑     A plan is being filed with this petition.
                                                        ❑  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C.§ 1126(b).
                                                        ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                          (Official Form 201 A) with this form.
                                                        ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                    ❑ Chapter 12

9.   Were prior bankruptcy          ~ No
     cases filed by or against      ~ Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                        District                                    When                              Case number
                                           District                                    When                              Case number




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    Debtor    ~.jeyCart~nC                                                                                  Case number (if known)
                                                                                                                                                                             _ _
              Name

    10. Are any bankruptcy cases              ■ No
        pending or being filed by a           ~ Yes.
        business partner or an
        affiliate of the debtor?




        List all cases. If more than 1,
        attach a separate list                         Debtor                                                                   Relationship
                                                       District                                 When                            Case number, if known


   11. Why is the case filed in           Check all that apply:
       this district?
                                          ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                 preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          ❑      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

   12. Does the debtor own or             ■ No
       have possession of any
       real property or personal                     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                          ❑Yes.
       property that needs
       immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                     ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard?
                                                     ❑ It needs to be physically secured or protected from the weather.
                                                     ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, orsecurities-related assets or other options).
                                                     ❑ Other
                                                     Where is the property?
                                                                                      Number, Street, City, State &ZIP Code
                                                     Is the property insured?
                                                     ❑ No
                                                     ❑ Yes.       Insurance agency
                                                                  Contact name
                                                                  Phone



          Statistical and administrative information
-       .
13. Debtor's estimation of               Check one:
    available funds
                                         ■ Funds will be available for distribution to unsecured creditors.

                                                  ❑ After any administrative expenses are paid, no funds will be available to unsecured creditors.

   14. Estimated number of            ~ 1.49                                              ❑ 1,000-5,000                              ❑ 25,001-50,000
       creditors                                                                                                                     ❑ 50,001-100,000
                                          ❑ 50-99                                         ❑ 5001-10,000
                                          ❑ 100-199                                       ❑ 10,001-25,000                            ❑More than100,000
                                          ❑ 200-999

   15. Estimated Assets                   ❑ $0 - $50,000                                  ■ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                          ❑ $50,001 - $100,000                            ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                          ❑ $100,001 - $500,000                           ❑ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                          ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑More than $50 billion


   16. Estimated liabilities              ❑ $0 - $50,000                                  ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion

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Debtor    Heycart Inc                                                            Case number (i~known)
          Name

                        ❑ $50,001 - $100,000                      ■ $10,000,001 - $50 million            ❑ $1,000,000,001 - $10 billion
                        ❑ $100,001 - $500,000                     ❑ $50,000,001 - $100 million           ❑ $10,000,000,001 - $50 billion
                        ❑ $500,001 - $1 million                   ❑ $100,000,001 - $500 million          ❑ More than $50 billion
                                                                  _ _




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Debtor    HeyCe1't It1C                                                                             Case number(utoawn)                                      _.....



          Raquastfot Rollaf, bsciaratlon, and Signat~ree                                                                                                   _

WARNING -- Bankrupicy h0ud is a sCrioue crime. Making a Ialse statomeni in connection with a benWuptcy cabs Can result in t1nC~ up to 5500,000 or
           i mprisonment for up to 24 yoars, or bath. 1& U.S.C,§§ 182, 1341, 1519, end 357t.

17. De~iaraUan and signature
    of authorized            The debtor requests relies in accordancQ with the chapter of title 1i, Unitod Statea Code,apotified in ibis peGtlon.
    roprosentatCvo of dobtor
                              have been authorized to filo th(s petflian an Gehalt of the debtpr.
                                 i have examined thQ intorm~tion Cn ih(s petition and have at reasonable belfet tf~al tho tntormapon is ire and r~xreG.
                                  deciere under penally of perjury that the foregoing is true and correct.
                                 Facecutetl on    d2128/2Q24           _...__ _._
                                                  MMlDDtYYYY

                                                                                                          Aiden Chien
                             X              ___
                                 Signature o!authadzed representalbe of debtor                            Printed name

                                 Title   Chief O pQrating Officer




10. Signature of attorney    ~ /s/ Zev Sh~chtman                                                           Date 0212$/2424
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Zev Shechtman                  ~._                                       _
                                 PdMed name

                                 banning, Giil, israel8 Krasnoff, LlP                                     _...~._._---
                                 Firmname

                                 1801 Avenue ofthe Stars, Suite 450
                                 Los Angeles, CA 90067-6006                                          --        —__
                                 Number,Street, City, State &ZIP Code

                                 Contact phone (310j 277-0077                       Email address    zs@danninggill.com


                                 266280 CA                                                 _
                                 Bar number and Siaie




Olfiaai ~otm 701                          Voluntary Potltton fot Non-Individuals FNfnc~ for Bankruptcy                                                    pa9c 5
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                                 Cl~;li1'IF[CA't'H; ON RESOLU'1'[ON OF
                                   1'111 130ARU OF 1)IKF.CTORS OH
                                              IIE;YCAK7'INC
                                       (A California Corporation)
                                                                                           "Com{~any")
    '1'hc Board of Directors (thc "13o~ud") of Ffcycart Inc, a California corporation (thc
                                                                                               of the
     hcrcby ccrtitics that, in accordance with the authority vcstcd in the [3oard of Directors
                                                                                           with ali I3aard
     Company, at a meeting of the board of Directors convcnecl on t'cbruary 27, 2024,
                                                                                              the
     members in attendance. the BoArd of Directors of the Company unanimously adopted
     following resolutions:
                                                                                     Company and
     WIiEREAS, the Board has considered the financial tt»d business affairs of the
     has anAlyr..cd the assets and current and long-term liabilities of'thc Company;
                                                                                       available to ans~vcr
     WHEREAS, d~c Company's corporAtc counsel ~~nd bankruptcy counsel were
     q uestions by the Board;
                                                                                  Board, it is
     NOW,THEREFORE,I3E IT I2ESOLVEll, that in the judgment of the
                                                                                    stockholders find
     desirable a~~d in the best interest of the Company,its creditors, employees,
     other i►~tcrested parties that a petition be f led by the Company seeking rc;lief under the
                                                                                                 and
     provisions of chapter 11 of title 11 of the United States Code (the "I3ankrupt Code");
                                                                                     cy

                                                                                                     d
    RESOLVED, that Alden Chien, Chief Operating Officer of the Company (the "Authorize
                                                                          to execute, vcr►fy and file all
    Of'fcer") be and hereby is, authorized on behalf of the Compflr►y
                                                               , and to take  and perform  any and   all
    ~ctitions, schedules, lists and other papers ar documents
                                                                                                         in
    further actions and steps that such Authorized Officer deems necessary, desirable and proper
    connection with the Company's chapter 11      case, with a view  to the  successful prosecutio n of
    such case; and

    I2F,SOLVEI), that the Authorircd Offiecr, on behalf of the Company, is authorized, enipo~vered
    and directed to retain the law firm of banning, Gill, Israel &Krasnoff, LLI' ("Donning Gill") to
    represent and tsssist the Company in carrying out the Company's duties under chapter 11 of the
    Bankruptcy Codc, and Armory Consulting, Inc. ("Armory") as Company's finAncial advisor, and
    to take any and all actions to advance the Company's rights in connection therewith, and that the
    Authorized Officer is hereby authorized and directed to execute Appropriate retention
    agreements, pay appropriate retainers prior to, immediately upon, and after the tiling of the
    bankruptcy, and to cause to be filed appropriate ApplicAtions for authority to ret~iin the services
    of banning Gill and Armory; and

    ltF;SULVCD, that the Aulhorircd Officer, on behalf of the Compt~ny is authacizcd and directed
    to employ any other professionals necessary to assist the Company in carrying out its ciutics
    under the Bankruptcy Cock; and in eonac;cti~n thcrowith, the afliccrs of khc Compiuiy ~►rc hereby
    authoricd and directed to execute upprapriatc retention agreements, ptiy approprit~tc retainers
    prior to or immediately upon the lilinb ol'the chf~ptcr I 1 case tmd ctiusc to be filed appmpri~tc

    1750361.2 27215                              I'agc 1 of Z
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     apE~lications Frith the bankruptcy court far ~utlx~rity to retain the scrviccs of any other
     profcssicm:~ls, as necessary, tend on such Icrms ~~s arc dcctncd necessary, desirable end proper;
     acid

    RI~SOI,VI~;1), that the Authori~cd OI'ticcr, on bch4~lf of the Compttny bc, s~nci hereby is,
    authori~cd and empowered tc~ obtain unsecured or secured prcpctition t►nd postpctition financing
    according to t~rnts ~vllich may tic negotiated by the mant~6cmcnt of the Company, including
    under dcbtar-in-posscssian credit ft~cilitics, rind to plcclgc and grunt liens on its assets as may be
    contemplated by or required under the terms oi'such prcpctition ~r nostpctition linancin6; and in
    conncctian therewith, tl~c Authorised Oi'ticcr of d~c Company is hereby ~uthnriicd and clircctcd
    to execute appropri~~te loan a~rccmcnts and related ancillary documents; and

    RF.SOLVN;U, Qiat the Authorized Of(iccr, on behalf of the Company bc, end hereby is,
    authorircd, cmp~wcred and directed, in the n~mc and on behalf of the Company to cause the
    Company to lilc a chapter I 1 plzn and to prosecute ~►nd obtain confirmation oC such plan or
    similar plan in the chapter 1) c~zsc; and

    RESOLVED, that the Authorized Offccr, on bcl~alf oCthc Company bc, and hereby is,
    authorized to take any and all actions, to execute, deliver, ccrtii'y, f Ie and/or record and perform
    any and all documents, agreements, instruments, motio~xs, affidavits, applications and complaints
    for approvals or rulings of judicial, ~ovcrnmental or regulatory authorities, and to take any and
    al(actions and steps, deemed by such Authorized Ofliccr to be necessary or desirable to carry
    nut the purpose and intent of each oT the foregoing resolutions to prosecute a chapter 11 case;
    and

   RESOLVEll, that any and all actions licretoforc taken by the Authorized Of(iccr or the
   directors of the Company, or others as designated by the Authorized Officer, in the name and on
   behalf of the Company in furtherance of the purpose and intent of any or all of the forgoing
   resolutions be, and hereby arc, ratiCcd, conFrincd, and approved in all respects.

   executed, on February 27, 2024.



   'Pony Li, Director and hief ~xeeutive
   Officer



                        r ~-

   Aidcn Chien, Director and Chief Operating
   01'liccr



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    Debinrname       Heycartino

    Uni~~!$sates Bankruptcy Court for the: C[N7RAL DISTRICT OF CALIFORNIA-SA

    Case number (rt known)
                                                                                                                             ❑ Check 1f this ~s an
                                                                                                                               amended filing
     --____


   O~cial Form 202
   Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12H5

                                                                                                                                             this
  An individual wha is authorizod to act on bnhalf of a nomtndivldual debtor, such as a corporation nr partnorship, must sign and submit
                                                                                                                                          and any
  forrn for tho schodulos of assols and Ilabilittes, any othor document that roqu(ros a dociaration that is not included in tha documont,
  amendments of those documents. This form must stato the Individual's position ar relationship to tho dobtor, tha fdontiry of thm documont,
  end tho dato. Bankruptcy Rulus 1008 and 9011.
                                                                                                                                      fraud in
  WARNING —Bankruptcy fraud is a serious crimp. Making a faiso statement,concealing property, or obtaining money or property by
                                                                                                                                     1541,
  connoctian with a bankruptcy case can result In fines up to 5500,000 or imprtsonmont inr up to 2Q years, or both. 18 U.S.C.§§ 152,
  1519, and 357E


  Declaration and signature
-.

          am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
        individual serving as a representative of the debtor in this case,

        i have examined the information in the documents checked below and i have a reasonable belief that the information is true and correct:

         ~      Schedule AB:Assets—Real and Persona!Property (Official Form 206AlB)
         ~      SGhedWe A: Creditors Who Wave Claims Secured by Property (Official ~ortn 208D)
         r      Schedule E/F.• Creditors Who Have Unsecured Claims (Official Form 206ElF)
         r      Schedule G:Execulo+y Contracts and Unexpired teases(Official Form 206G)
         ~      Schedule N: Codebfors (Official Form 206H)
        t       Summary ofAssets and Uabilities for Non-individuals(QKcial Form 2D6Sum)
        ❑       Amended Schedule
        ~       Chapter i7 or Chapter9 Cases: List o!Creditors UVho Nave the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)
        Q       Ocher document that requires a declaration  ~_

        dedare under penalty of perjury shat the foregoing is true and correct.

        ~cecuted on
        F                  02t28t2024      _ __          X
                       µ                                     Signature of individual signing on behalf of debtor

                                                             Alden Chien
                                                             Printed name

                                                             Ghie~erating,gificer                                   ~~~
                                                             posilipn or relationship to tlebtor                               ~~




 Otficia~ Farm 202                                  6nclaration Under penalty of perjury for Non•Individual Dabtars
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 Debtor name ~ Heycart Inc
 U nited States Bankruptcy Court for the:       CENTRAL DISTRICT OF                                                                      ❑ Check if this is an
                                                CALIFORNIA-SA
 Case number (if known):                                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C.§ 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name,telephone number I Nature of claim              Indicate if claim   Amount of claim
 complete mailing address, and email address of    (for example, trade           is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact      ~ debts, bank loans,           unliquidated, or    claim is partia0y secured, fill in total claim amount and deduction for
                                                 ; professional services,           disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                   Total claim, if            Deduction for value        Unsecured claim
                                                 ~ contracts)                                       partially secured          of collateral or setoff
  Xiamen Youlike      Kelly              Raw materials                                                                                                      $3,461,077.59
j Houseware Co.,Ltd
  Room 511, No. 1,    kelly@xmyoulike.                                                                                                                                               i~
  No. 39, Xinchang    com
  Road, Haicang
  District, Xiamen
  Fujian China 361026
  SFig                Roei               Loan                                  Disputed                                                                     $3,297,924.00
  1717 W 6th St Suite                                                                                                                                                               I
  335                 roei@8fig.co
  A ustin, TX 78703   5122033261
  BIueX Trade         Jerry Cheng        Loan                                  Disputed                                                                     $1,095,303.86
  104, Taiwan, Taipei
  City                jerry.cheng@bluext
 Zhongshan District, rade.com                                                                                                                                                       ~
 Section              2132797575
 2, Nanjing E Rd,                                                                                                                                                               i~

  Panda Logistics      Veronica Luna    Freight forwarder                      Disputed                                                                        $920,000.00
  USA Inc
  1 Civic Plaza Dr ST veronica)@pandalo
  E555                 gusa.com                                                                                                                                                 ',
I Carson, - CA 90745
                 _     310-635-1990
                                                                                         ---
'Xiamen Ruihe          May Li           Raw materials                          Unliquidated                                                                    $831,279.39 I.
  Xingyi Trading Co.Lt                                                         Disputed                                                                                    ~
  1301-2, Building     may@hbdware.co
  1, Meifeng Chuanggu m
  Xike Town, Tongan                                                                                                                                                            !,
  District
  Xiamen, China
                                    —___ -
Clearco dba                Gabriella                 Loan                                                                                                     $787,165.73
Clearbanc
33 Yonge St, Suite         funding@clearbanc
1200                       .com
Toronto, ON M5E
1G4


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor     Heycart Inc                                                                                Case number (if known)
                                    _ _        _ _                                                                                                  _      -         --
            Name

 Name of creditor and      Name,telephone number Nature of claim                  indicate if claim   Amount of claim
 complete mailing address, and email address of  (for example, trade               is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact      debts, bank loans,               unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,               disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                      Total claim, if            Deduction for value        Unsecured claim
                             __._----                                                                 partially secured          of collateral or setoff
         Amazon                                       Advertising... . ..                                                                                        $633,324.51..
         410 Terry Ave N         AMS_Receivables
         Seattle, WA 98109          amazon.com                                                                                                                       ---
                                             __-
         Yangjiang Homelife Betty Ho                  Raw materials               Disputed                                                                       $438,200.72
         I ndustry &Trading
      ', 3/F, No. 16, Building betty.ho@yjhomelif
         H, Green Lake           e.com
         Garden, XinJiang
         North Road
         Yangjiang, 529500
         Tongcheng               Ricky Ren            Freight forwarder                                                                                          $342,805.12
         Logistics Inc.
         566 Vanguard Way        rren@tclogusa.co
         U nit A, Brea,CA        m
     ~ 92821                    6577991999
         Visa Inc.                                    Credit card debt                                                                                           $301,739.31
     ~! 900 Metro Center
    i~ Blvd.                     1 (800) 847-2911
         San Mateo, CA
 ' 94404
         Shenzhen                Amy Liu              Raw materials                                                                                              $285,380.85
         Minshunlong Co.,Lt
         d                      sales@szmsl68.co
        #1601 Wanhui             m
         Building
         No 3, Longhe Road,
         Longgang District,
         Shenzen-                              ______
         Ningbo Kingdom         Sunny                 Raw materials              Disputed                                                                        $266,575.20
         Home Fashion Co.
   ~I Ltd                       sales@storageorga
         No. 169 North Linyu nize.com
,
'Road
  ', Zhenhai, NingBo
  ~ P.C:315207
         China                                                                         --_
                __        -                                    ---
         Fuzhou Yibang          Heson He              Raw materials              Disputed                                                                        $265,449.92
         Plastic Co.ltd
         3F No 58 Zhaishan      sales8@fzyumei.co
         Road, Houshan           m
         Village Minhou
         Fuzhou FJ 350109
         China _                            _ _--                 -_
             __        _
         Yangjiang Kimberi      Julie Ye              Raw materials              Disputed                                                                        $218,273.68
  ~ Trading Co., Ltd.
  ~, No. 12 Nawei               ke14@kimberi.com
  I Industrial Zone II          .cn
         Dongcheng Town
         Yangdong District,
         Yangjiang
LI -_ _                     - - —_- __



Official form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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  Debtor    Heycart Inc                                                                                Case number (if known)
                                    __ __ __                            __ ____
            Name

 Name of creditor and      Name,telephone number i Nature of claim                Indicate if claim   Amount of claim
 complete mailing address, and email address of  ~ (for example, trade             is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact      ~ debts, bank loans,             unliquidated, or    claim is partialty secured, fill in total claim amount and deduction for
                                                 ~ professional services,             disputed        value of collateral or setoff to calculate unsecured claim.
                                                 ~                                                    Total claim, if            Deduction for value        Unsecured claim               j
                                                                                                      partially secured          of collateral or setoff                                  ~,
  Victory Maritime          Otis Liang                 Freight forwarder          Disputed                                                                        $215,748.07
  Services USA
  333 City Blvd W          otis@vgil.us
, Ste 1210                 657-282-0067
~ Orange, CA 92868
~ Zenpack                  Steven Shih                 Raw materials              Disputed                                                                        $166,353.38
  1050 N. 5th St, Ste
  #30                      sshih@zenpack.us

   Fujin~Brige Stye2 Lily Lee 037            Raw materials   Disputed                                                                                              $96,262.17 I
 ' Furnishings Co.
   4th Floor, Plant 8,   sale10@bridge-styl
   No 3 Tieling          e.cc
   East Road, Jingxi
   Town,
   Minhou County,
 ~ Fuzhou                                                                                                                                                                             ~
   V Plus Packing        V Plus Packing      Loan                                                                                                                 $50,000.00
   No 1 Building,
   Xinchang Road         sales@vpluspackin
   Haicang District,     g.com                                                                                                                                                    ',
   Xiamen
   Fujian, China
   Leventa               Jinal               Ads Management-        —                             -                      _ _                          -           $29 805.10
. 1752 Northwest                             Service
   Market Street         final@levanta.io
   U nit 4364            425-737-0150
  Seattle, WA 98107
   Neo Regal(Xiamen) Hannah                  Raw materials                                                                                                        $14,028.00
   Industrial Co., Lt
  #503 Ganghang          sales4@neoregal.c
   Building, #29         n
   Donggang North
~ Road,
   Xiamen 361000,
   China                                                                                                                                                                         _~
           --—      _ -- - --              -- - _ _     __ -                                     - - --          ----          _ _                _       —   -            ___




Official form 204                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                                                         t~nated Siat+~s B.~r~kruptcy ~aurt
                                                            Cc~tkrs~l I)~sirict t~fCulf~yrnn-SA
   o re     Heycart Ins _                                                                                           Casa Na.   w..,.— .._~ .._ ~~.,--.
                                                                                  T3~6tar(e)                        Ch~ptar ~1~i__~_~--- _.         ~,.

                                                    ~,IST ~F EQUITY S~Ct1R~'T'Y IIQL,t}~F25
   rlIolu~ng is tt~ list r~ftha Ckbtpr's ~gXiify sccEirity h~lcier~ ~ti~t~ieh is ptepnr~d in accordance ~~ith rota iUg7(nj(3) for fllu~g in tt~i~ Gbnptcr ~ I t:ase

       ie and Iast M ttacvn address or pl~cc at'              Security Class Nmnbcr of Securities                             Kir~c1 ofInterest
       ~trss of haldcr
       ~ Chit~rl                                              Common                d,500                                     d5tl~{+
        Michaison pr.r
       f~
       ~.GA 92612

       ~ L.i                                                  Common                5,50A                                    Sb%o
         Minfielsan Dr.,
       a
       e.CA 82&12


     CLAI2ATI()N t7NllF.R 1'~NAT.'I'Y OTC i'ERJU~'Y ON BF.TIAI,F C1F COTtPUi2ATTt)N nI2 I'A~tTTVFRSFIIP

         1,the Ghi~f aperattng Officer ofthe curpor~tion ~tam~d as the debtor in this case, declare under penalty ofperjury
     I stave read the foregoing List of equity Security f-folders and that it is true anti correct to the best of my infpnnatian
     belief:



             02!2812024
                      _..._                                                Signature
                                                                                         Aiden Chien

                    FeMaltyfnr makingnfalse statement ofco++cralln~ prapert}~~ fine ofi up to 55Q0,000 ar imprisonrocnt for up toS years or both,
                                                                  i8 U:S-C. §~ 15~ and 371,




     1 of I in ListofT~uity Seeurity I~talclers
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                                  STATEMENT OF RE~AT~D CASES
                              I NFORMATION REQUIREp BY I.BR 1U15-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
   1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 hes previously been filed by or
       against the debtor, hislher spouse, his or her current or former domestic partner, an affiliate of the debtor, any
      copartnership or joint venture of which debtor is or formerly was a general or limited parkner, ar member, or any
      corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
       and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court fo whom
       assigned, whether still pending and, if nvt, the disposition thereof. If Wane, so indicate. Also, list any real property
       included in Schedule A/B that was filed with any such prior proceeding(s).)
    None

  2. (If petitioner is a partnership nr joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
     Act of 1978 has previously been filed by yr against the debtor or an a~liate of the debtor, or a general partner in the
     debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
      debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
     complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
     and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
     any real property included in Schedule AIB that was filed with any such prior proceeding(s).)
   None

      (If petitipner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
       previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
      of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
      of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
      or corporations owning 20°Jo or more of its voting stock as follows: (Set forth the complete number and title of each
      such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
      still pending, and if not, khe disposition thereof. If none, sa indicate. Also, list any real property included in Schedule
      A/~ that was filed with any such prior praceeding(s).)


  ~. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
     been filed by or against the debtor within the last 180 days:(Set forth the complete number and title of each such prior
     proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
     pending, and if not, the disposition #hereof. If none, so indicate. Also, list any real property included in Schedule AJB
     that was filed with any such prior pracesding(s).)
  None

   declare, under penalty of perjury, that the foregoing is true and correct.
  Executed at Irvine, Caiiforn~a                                  ,California.                              ~G~+~""
                                                                                                  Alden Chien                                     ~~`-
  Rafe:            62/28/2024                                                                     Signature of Debtor 1



                                                                                                   Signature of Debtor 2




                   This(am is mandatary If has peen approved for uae in iha Unimd States Bankruptcy Court for the Conlral Qistnct of Caldprnia.

  r~r~e,zo~e                                                            pe~o~               ~' 1015-2.1.STMT.REL.ATED.CASES
           Case 8:24-bk-10483-TA                                          Doc 1 Filed 02/28/24 Entered 02/28/24 10:42:26                                                                     Desc
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 Debtor name            Heycart Inc

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA-SA
                                                                         ____
 Case number (if known)
                                                                                                                                                                                 ❑ Check if this is an
                                                                                                                                                                                   amended fling



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12!15

              Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property(Official Form 206A/B)

       1 a. Real property:
            Copy line 88 from Schedule A/8.............................................................................................................................               $                  0.00
                                                                                                                                                                                            __ _

       1 b. Total personal property:
                                                                                                                                                                                       g      1,231,380.53
            Copy line 91A from Schedule A/8.........................................................................................................................

       1c. Total of all property:
                                                                                                                                                                                      $       1,231,380.53
           Copy line 92 from Schedule A/8...........................................................................................................................


              Summary of Liabilities


2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                      $            944,421.41
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................


 3.    Schedule E/F: Creditors Who Have Unsecured C/aims (Official Form 206E/F)

      3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                      $                  0.00
          Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................

      3b. Total amount of claims of nonpriority amount of unsecured claims:
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$     22,555,626.44



4.     Total liabilities .....................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                          $        23,500,047.85




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                              page 1
Software Copyright(c) 1996-2023 Besl Case, LLC -www.bestcase.com
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  Debtor name       Heycart Inc
                    - _             _ __
  U nited States Bankruptcy Court for the    CENTRAL DISTRICT OF CALIFORNIA-SA

  Case number (if known)
                                                                                                                                 ❑ Check if this is an
                                                                                                                                   amended filing



Official Form 206A/B
Schedule A/B: Assets -Real and Personal Property                                                                                                      12/15
 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
 Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
 which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
 or unexpired leases. Also list them on Schedule G:Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
 the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
 additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
' .          Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      ❑ No. Go to Part 2.
      ■ Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.   Bank of America                                     Checking                              8588                                $191,882.03




            3.2.   Citi Bank                                           Checking                              6938                                 $71,390.22




 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                  $263,272.25
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

             Deposits and Prepayments
              - -             --- _      -
6. Does the debtor have any deposits or prepayments?

      ❑ No. Go to Part 3.
      ■ Yes FiII in the information below.

 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
                   Security deposit for office lease of SPUS8 2600 Michelson, LP c/o CBRE, Inc., 2600
            7.1.   Michelson Dr., #100, Irvine, CA 92612(110% of one month).                                                                      $10,490.73




 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

 Official Form 206A/B                                Schedule A/B Assets -Real and Personal Property                                                     page 1
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 Debtor         Heycart Inc                                                                  Case number ~itknown~
                Name
                                         _- -

            Description, including name of holder of prepayment
                                                                                                                                     -      __ ---
 9.         Total of Part 2.                                                                                                         $10,490.73
                                                                                                                                __
            Add lines 7 through 8. Copy the total to line 81.

            Accounts receivable
                                                                                                                                     ----        --_
10. Does the debtor have any accounts receivable?

      ❑ No. Go to Part 4.
      ■ Yes Fill in the information below.

 1 1.       Accounts receivable
            1 1a. 90 days old or less:                319,867.55   -                                 0.00 = ....             $319,867.55
                                          face amount                  doubtful or uncollectible accounts
                                         The entire amount of accounts receivables is from Amazon and all is collectible in the next one
                                         and a half months.


 12.        Total of Part 3.                                                                                                      $319,867.55
            Current value on lines 11 a + 11 b =line 12. Copy the total to line 82.                                                                _',

            Investments
                                       --                                      --
13. Does the debtor own any investments?

      ■ No. Go to Part 5.
      ❑ Yes Fill in the information below.


             Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      ❑ No. Go to Part 6.
      ■ Yes Fill in the information below.

            General description                 Date of the last           Net book value of        Valuation method used    Current value of
                                                physical inventory         debtor's interest        for current value        debtor's interest
                                                                          (Where available)

19.         Raw materials

20.         Work in progress

21.         Finished goods, including goods held for resale
            Home and kitchen
            products.                     2~27~24                                     $632,750.00   Liquid Value Appraisal



22.         Other inventory or supplies
                                                                                                                       i
23.         Total of Part 5.                                                                                                      $632,750 00
            Add lines 19 through 22. Copy the total to line 84.

24.         Is any of the property listed in Part 5 perishable?
            ■ Na
            ❑ Yes

25.         Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            ■ No
            ❑ Yes. Book value                            Valuation method                         Current Value


Official Form 206A/B                                  Schedule A/B Assets -Real and Personal Property                                       page 2
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  Debtor       Heycart Inc                                       __ _   __                   Case number ~itknown~
               Name

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           ■ No
           ❑ Yes

               Farming and fishing-related assets(other than titled motor vehicles and land)                                        __
 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    ■ No. Go to Part 7.
    ❑ Yes Fill in the information below.


               Office furniture, fixtures,_ and equipment; and collectibles
 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    ❑ No. Go to Part 8.
    ■ Yes Fill in the information below.

           General description                                             Net book value of         Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

 39.       Office furniture
           Laptops, desks, chairs and monitors.                                       $5,000.00      Market value                        $5,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
                                                                                                                        r
 43.       Total of Part 7.                                                                                                              $5,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
           ■ No
           ❑ Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           ■ No
           ❑ Yes

'
~ ~
  r          Machinery, equipment, and vehicles
                  - __      _-      -      -                --      - - --                       -
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    ■ No. Go to Part 9.
    ❑ Yes Fill in the information below.


               Real property
54. Does the debtor own or lease any real property?

    ❑ No. Go to Part 10.
    ■ Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




Official Form 206A/B                                 Schedule A/B Assets -Real and Personal Property                                         page 3
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 Debtor       Heycart Inc       _      _                                                 Case number (ifk~owr,~
              Name                             --

          Description and location of      Nature and                 Net book value of              Valuation method used   Current value of
          property                         extent of                  debtor's interest              for current value       debtor's interest
          Include street address or other  debtor's interest          (Where available)
          description such as Assessor     in property
          Parcel Number (APN), and type of
          property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. SPUS8 2600 Michelson, LP
                  c/o CBRE, Inc.
                  2600 Michelson
                  Dr., #100
                  Irvine, CA 92612
                  remaining lease
                  through Mar 1, 2026.
                                                                                  Unknown                                                        $0.00




 56.      Total of Part 9.                                                                                                                  $0_00
          Add the current value on Tines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
          ■ No
          ❑ Yes

58.       Has any of the property listed in Part 9 been appraised by a professional within the Iast year?
          ■ No
          ❑ Yes

             Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property.

   ❑ No. Go to Part 11.
   ■ Yes Fill in the information below.

          General description                                          Net book value of         Valuation method used       Current value of
                                                                      debtor's interest          for current value           debtor's interest
                                                                      (Where available)

60.       Patents, copyrights, trademarks, and trade secrets
          Heycart possesses a Certificate of
          Registration from the European Union
          Intellectual Property Office for "Smirly" - no.
          018584350.                                                              Unknown                                                Unknown


          Heycart, Inc. registered a trademark for the
          name "Epic Festif' on June 20, 2023 with the
          U.S. Patent and Trademark Office (reg. no.
          7088586).                                                              Unknown                                                 U nknown


          Heycart, Inc. registered a trademark for the
          name "Smirly" on May 9, 2023 with the U.S.
          Patent and Trademark Office (reg. no.
          70149137.                                                              Unknown                                                 U nknown




Official Form 206A/B                                Schedule A/B Assets -Real and Personal Property                                          page 4
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 Debtor       Heycart Inc                                                                  Case number ~irknow~,~
              Name

          On December 28, 2021, Heycart was issued
          U.S. patent no. D939,298 S for a type of cheese
          board set.                                                               U nknown                                               Unknown
                                                                                                     __ _       ___


          On December 28, 2021, Heycart was issued
          U.S. patent no. D939,297 S for a type of cheese
          board set.                                                               Unknown                                                Unknown
                                                                                                                      _ _._


          On September 13, 2022, Heycart was issued
          U.S. patent no. D963,433 S for a type of cheese
          board set.                                                               Unknown                                                Unknown



61.       Internet domain names and websites
          www.heycart.com
          www.smirly.com
          www.smirlyfit.com
          www.fromsmirly.com
          wwwsmirly.us.com                                                         Unknown                                                Unknown



62.       Licenses, franchises, and royalties

63.       Customer lists, mailing lists, or other compilations

64.       Other intangibles, or intellectual property

65.       Goodwill
                                                                                                                                                    _~
66.       Total of Part 10.                                                                                                                 $0.00
          Add lines 60 through 65. Copy the total to line 89.                                                                 _       _    _ __

67.       Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41 A) and 107?
          ■ No
          ❑ Yes

68.       Is there an amortization or other similar schedule available for any of the property listed in Part 10?
          ■ No
          ❑ Yes

69.       Has any of the property listed in Part 10 been appraised by a professional within the last year?
          ■ No
          ❑ Yes

              All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

   ❑ No. Go to Part 12.
   ■ Yes Fill in the information below.

                                                                                                                              Current value of
                                                                                                                              debtor's interest


71.       Notes receivable
          Description (include name of obligor)

72.       Tax refunds and unused net operating losses(NOLs)
          Description (for example, federal, state, local)
Official Form 206A/B                                 Schedule A/B Assets -Real and Personal Property                                          page 5
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 Debtor       Heycart Inc                                                            Case number (irk~,o~vn)
              Name



 73.      Interests in insurance policies or annuities

 74.      Causes of action against third parties (whether or not a lawsuit
          has been filed)
          2023 Zhejiang 0211 Civil Appeal No. 1347
          Court name :Ningbo Zhenhai District People's Court
          Court address: No. 8, Guangda Road,Zhenhai District,
          Ningbo City, Zhejiang
          315200
          Status of case: Pending                                                                                 Unknown
                                             __                                                                       _ __
          Nature of claim            Product quality dispute
                                                           --
          Amount requested                                   Unknown



75.       Other contingent and unliquidated claims or causes of action of
          every nature, including counterclaims of the debtor and rights to
          set off claims

76.       Trusts, equitable or future interests in property

77.       Other property of any kind not already listed Examples: Season tickets,
          country club membership

78.       Total of Part 11.                                                                                    -- Unknown
          Add lines 71 through 77. Copy the total to line 90.

79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
          ■ No
          ❑ Yes




Official Form 206A/B                               Schedule A/B Assets -Real and Personal Property                    page 6
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Debtor           Heycart Inc                                                                                         Case number (irk~,owr,~
                 Name



                 S
                  ummary.. __

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $263,272.25

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $10,490.73

82. Accounts receivable. Copy/ine 12, Part 3.                                                                    $319,867.55

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $632,750.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $5,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00
                                                                                                                                                     __
88. Real property. Copy line 56, Part 9.........................................................................................>             ~      __           $0.00_


89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00


91. Total. Add lines 80 through 90 for each column                                                         $1,231,380 53            + 91 b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $1,231,380.53




Official Form 206A/B                                              Schedule A/B Assets -Real and Personal Property                                                          page 7
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     Debtor name         Heycart Inc

     United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA-SA

     Case number (if known)
'i                                                                                                                                             ❑ Check if this is an
~                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         ❑ No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         ■ Yes. Fill in all of the information below.
                 List Creditors Who Have Secured Claims
                                                                                                                           Column A                  Column 8
     2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
     claim, list the creditor separately for each claim.                                                                   Amount of claim           Value of collateral
                                                                                                                                                     that supports this
                                                                                                                           Do not deduct the value   claim
                                                                                                                           of collateral.
'~ 2.1     A1718Z011                                     Describe debtor's properly that is subject to a lien                     .$592,128.44_                   $0.00
           Creditor's Name                               All assets of the Debtor.
          410 Terry Ave N
          Seattle, WA 98109
                        __
          Creditor's mailing address                     Describe the lien
                                                         Loan                                      —_ _   _
                                                         Is the creditor an insider or related party?                 _-
          amazon-lending@amazons
          om                                             ■ No
          Creditor's email address, if known             ❑Yes
                                                         Is anyone else liable on this claim?

           Date debt was incurred                        ~ No
          2023                                           ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account number


           Do multiple creditors have an                 As of the petition filing date, the claim is:
           interest in the same property?                Check all that apply
           ~ No                                          ❑Contingent

           ❑ Yes. Specify each creditor,                 ~ Unliquidated
           including this creditor and its relative      ❑Disputed
           priority.




     2.2 ~ Sellersfunding                                Describe debtor's property that is subject to a lien                     $283,592.97               Unknown
          Creditor's Name                                Accounts, collateral securing any
                                                         receivables, deposit accounts, financial
                                                         assets, general intangibles, letters of credit
                                                         and letters of credit rights, payment
                                                         intangibles, securities, security accounts,
          1290 Weston Rd., Suite 306                     and security entitlements.
          Fort Lauderdale, FL 33326
          Creditor's mailing address                     Describe thB lien
                                                         Loan
                                                         Is the creditor an insider or related party?
          alfredo@sellersfi.com                          ■ No
          Creditor's email address, if known             ❑Yes
                                                         Is anyone else liable on this claim?
          Date debt was incurred                         ❑ No

          2 22                                           ~ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account number



Official Form 206D                                    Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
         Case 8:24-bk-10483-TA                             Doc 1 Filed 02/28/24 Entered 02/28/24 10:42:26                                           Desc
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Debtor       Heycart Inc                                                                          Case number (if known)
             Name
                                                    _ __
                         _. _   _.
      Do multiple creditors have an               As of the petition £ling date, the claim is:
      interest in the same property?              Check all that apply
      ~ No                                        ❑Contingent
      ❑ Yes. Specify each creditor,               ~ Unliquidated
      including this creditor and its relative    ❑Disputed
      priority.



      U.S. Small Business
23                                                Describe debtor's property that is subject to a lien                     $68,700.00                Unknown
      Administration
      Creditor's Name                             All assets of the Debtor.
     10737 Gateway West
     #300                                         --       -__
     EI Paso, TX 79935
      Creditor's mailing address                  Describe the lien
                                                  Loan
                                                 -Is  --- -
                                                     the creditor an insider or related party?

                                                  ~ No
      Creditor's email address, if known          ❑Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      ❑ No
      2020                                        ~ Yes. Fill out Schedule H: Codebto~s (Official Farm 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      ~ No                                        ❑Contingent
      ❑ Yes. Specify each creditor,               ~ Unliquidated
      including this creditor and its relative    ❑Disputed
      priority.



3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              944,421.41 J

           List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
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 Debtor name         Heycart Inc

 United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA-SA

', Case number fir known)                                          __
                                                                                                                                                   ❑ Check if this is an
                                                                                                                                                     amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/8: Assets -Real and
Personal Property (Official Form 206A/B) and on Schedule G:Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

              List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims?(See 11 U.S.C. § 507).

          ~ No. Go to Part 2.

          ❑ Yes. Go to line 2.


              List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,297,924.00
           8Fig                                                              ❑ Contingent
           1717 W 6th St Suite 335                                           ❑ Unliquidated
           A ustin, TX 78703                                                 ~ Disputed
           Dates) debt was incurred 2020
                                                                             Basis for the claim: 108 h
           Last 4 digits of account number_
                                                                             Is the claim subject to offset? ~ No ❑Yes

 32       I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $633,324.51_
           A mazon                                                           ❑ Contingent
           410 Terry Ave N                                                   ❑ Unliquidated
           Seattle, WA 98109                                                 ❑ Disputed
           Dates) debt was incurred 2023                                     Basis for the claim: Adve1'tisinq
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

3
~Nonpriority creditor's name and mailing address                             As of the petition filing date, the claim is: Check ail that appry.              _ __ $1,,520.00
           A my Li                                                           ❑ Contingent
           2553 Chino Hills Parkway,                                         ❑ Unliquidated
           SUite C                                                           ❑ Disputed
           Chino Hills, CA 91709
                                                                             Basis for the claim: BCCOUI1tIIlq
           Dates) debt was incurred 2023
           Last 4 digits of account number 0031                              Is the claim subject to offset? ~ No ❑Yes


~34       I Nonpriority creditor's name and mailing address                  As of the petition £ling date, the claim is: Check all that apply.               $1,095,303.86
          BIueX Trade                                                        ❑ Contingent
          104, Taiwan, Taipei City                                           ❑ Unliquidated
          Zhongshan District, Section                                        ~ Disputed
          2, Nanjing E Rd, no.132 11F
                                                                             Basis for the claim: X0811
           Dates) debt was incurred 2023
           Last 4 digits of account number 0000                              Is the claim subject to offset? ~ No ❑Yes




Official Form 206E/F                                       Schedule EIF: Creditors Who Have Unsecured Claims                                                          page 1 of 5
                                                                                                          ao247
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    Debtor      Heycart Inc                                                                      Case number (if known)
                Name
    3.5    I Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that appry              $9,359.25
~      -
             Ci rro                                                     ❑ Contingent
             14779 Bar Harbor Road                                      ❑ Unliquidated
             Fontana, CA 92336                                          ~ Disputed
             Dates) debt was incurred 2023
                                                                        Basis for the claim: 3PL
             Last 4 digits of account number 0043
                                                                        Is the claim subject to offset? ~ No ❑Yes

~ 3.6      l Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check au that appry             $787,165.73
I --_                                                                                                                                                  - —
             Clearco dba Clearbanc                                      ❑ Contingent
             33 Yonge St, Suite 1200                                    ❑ Unliquidated
             Toronto, ON M5E 1G4                                        ❑ Disputed
             Dates) debt was incurred _
                                                                       Basis forthe claim:
             Last 4 digits of account number
                                                                        Is the claim subject to offset? ~ No ❑Yes

 3.7         Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,672,463.63
L_ -                                                                                                                                         ----   -_    _      -
             E BI Son INTERNATIONAL LTD                                 ❑ Contingent
             No. 24, Lesperance Complex,                                ❑ Unliquidated
             Providence Industrial Estate                               ❑ Disputed
             Mahe, Syechelles
                                                                       Basis for the claim:
             Dates) debt was incurred 2020
             Last 4 digits of account number 8485                       Is the claim subject to offset? ~ No ❑Yes


    8.8 ~ Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is: Check all that apply.             $96,262.17
             Fujian Bridge Style Furnishings Co.                        ❑ Contingent
             4th Floor, Plant 8, No 3 Tieling                           ❑ Unliquidated
             East Road, Jingxi Town,                                   ~ Disputed
             Minhou County, Fuzhou
                                                                       Basis fortne claim: trade vendor
             Dates) debtwas incurred 2023
             Last 4 digits of account number 9293                      Is the claim subject to offset? ~ No ❑Yes


I _3_9     J Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $265,449.92
             Fuzhou Yibang Plastic Co.ltd                              ❑ Contingent
             3F No 58 Zhaishan Road, Houshan                           ❑ Unliquidated
             Village Minhou Fuzhou FJ 350109                           ~ Disputed
             China
                                                                       Basis fortne claim: trade vendor
             Dates) debt was incurred 2023
             Last 4 digits of account number 1612                      Is the claim subject to offset? ~ No ❑Yes

    3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $29,805.10
             Leventa                                                   ❑ Contingent
             1752 Northwest Market Street                              ❑ Unliquidated
             U nit 4364                                                ❑ Disputed
             Seattle, WA 98107
                                                                       saris fortne claim: marketing service
             Dates) debt was incurred 2023
             Last 4 digits of account number                           Is the claim subject to offset? ~ No ❑Yes


I_3.11       Nonpriority creditor's name and mailing address           As of the petition £ling date, the claim is: Check au that appry.              $138,000.00
             Lidan Zheng                                               ❑ Contingent
             2600 Michelson Dr., #1430                                 ❑ Unliquidated
             Irvine, CA 92612                                          ❑ Disputed

                                                                       Basis for the claim: 10811
             Dates) debt was incurred 2023
                                                                       Is the claim subject to offset? ~ No ❑Yes
             Last 4 digits of account number 1901




Official Form 206 E/F                                   Schedule EIF: Creditors Who Have Unsecured Claims                                                 Page 2 of 5
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  Debtor       Heycart Inc                                                                        Case number (if known)
               Name
 3.12       Nonpriority creditor's name and mailing address             As of the petition £ling date, the claim is: Check all that appry.             $9,636.96
            Mastercard                                                  ❑ Contingent
            2000 Purchase Street                                        ❑ Unliquidated
            Purchase, NY 10577                                          ❑ Disputed
            Dates) debt was incurred 2022
                                                                        Basis for the claim: credit Card
            Last 4 digits of account number
                                                                        Is the claim subject to offset? ~ No ❑Yes

 3.13       Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is: Check all that appry           _ $14,028.00
            Neo Regal(Xiamen) Industrial Co.,Lt                         ❑Contingent
            #503 Ganghang Building, #29                                 ❑ Unliquidated
            Donggang North Road,                                        ❑Disputed
            Xiamen 361000, China
                                                                       sass rortne cia~m: trade vendor
            Dates) debt was incurred 2023
            Last 4 digits of account number 2601                        Is the claim subject to offset? ~ No ❑Yes


 3.14_ .    Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is: Check all that apply.          $266,575.20
                                                                                                                                              -- —
            Ningbo Kingdom Home Fashion Co. Ltd                         ❑ Contingent
            No. 169 North Linyu Road                                    ❑ Unliquidated
            Zhenhai, NingBo P.C: 315207                                ~ Disputed
            China
            Dates) debt was incurred 2021                              sass tonne cia~m: trade vendor
            Last 4 digits of account number _                           Is the claim subject to offset? ~ No ❑Yes

', 3.1.5   J Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check au that apply.            $920,000.00
            Panda Logistics USA Inc                                     ❑ Contingent
            1 Civic Plaza Dr STE 555                                    ❑ Unliquidated
            Carson, CA 90745                                           ~ Disputed
            Dates) debt was incurred 2022
                                                                       Basis forthe claim: 3PL
            Last 4 digits of account number 3885
                                                                       Is the claim subject to offset? ~ No ❑Yes

 3.16 _ J Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is: Check all that apply.           $285,380.85
           Shenzhen Minshunlong Co., Ltd                               ❑ Contingent
           #1601 Wanhui Building                                       ❑ Unliquidated
           No 3, Longhe Road,                                          ❑ Disputed
           Longgang District, Shenzen
                                                                       Basis fortne claim: trade vendor
            Dates) debtwas incurred 2023
            Last 4 digits of account number 8770                       Is the claim subject to offset? ~ No ❑Yes


 3.17       Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply            $342,805.12
           Tongcheng Logistics Inc.                                    ❑ Contingent
           566 Vanguard Way                                            ❑ Unliquidated
           U nit A, Brea,CA 92821                                      ❑ Disputed
            Dates) debt was incurred 2023
                                                                       Basis for the claim: 3PL
            Last 4 digits of account number 7972
                                                                       Is the claim subject to offset? ~ No ❑Yes

3.18_       Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $50,000.00_
            V Plus Packing                                             ❑ Contingent
            No 1 Building, Xinchang Road                               ❑ Unliquidated
            Haicang District, Xiamen                                   ❑ Disputed
            Fujian, China
                                                                       Basis for the claim: L0811
            Dates) debt was incurred 2024
            Last 4 digits of account number 2100                       Is the claim subject to offset? ~ No ❑Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 5
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  Debtor        Heycart Inc                                                                        Case number (irknown)
                Name
 3.19       I Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check ail that appty.    $215,748.07
            Victory Maritime Services USA                                ❑ Contingent
            333 City Blvd W                                              ❑ Unliquidated
            Ste 1210                                                     ~ Disputed
            Orange, CA 92868
                                                                         Basis for the claim: tl'8d@ V@IIdOF
            Dates) debt was incurred 2023
             Last 4 digits of account number 6680                        Is the claim subject to offset? ~ No ❑Yes

 320       J Nonpriority creditor's name and mailing address             As of the petition £ling date, the claim is: Check all that apply.     $301,739.31
            Visa Inc.                                                    ❑ Contingent
            900 Metro Center Blvd.                                       ❑ Unliquidated
            San Mateo, CA 94404                                          ❑ Disputed
            Dates) debt was incurred 2022                                Basis forthe claim: credit card
            Last 4 digits of account number _
                                                                         Is the claim subject to offset? ~ No ❑Yes

 3_21_ . ___ I Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $831,279.39
                                                                                                                                                  -- __
            Xiamen Ruihe Xingyi Trading Co. Ltd                          ❑ Contingent
            1301-2, Building 1,Meifeng Chuanggu                          ~ Unliquidated
            Xike Town, Tongan Distric
                                                                         ~ Disputed
            Xiamen, China
            Dates) debt was incurred 2022                                Basis for the claim: trade vendor

            Last 4 digits of account number 8100                         Is the claim subject to offset? ~ No ❑Yes

X322       I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is: Check all that apply.   $3,461,077.59
                                                                                                                                                     - --
            Xiamen Youlike Houseware Co.,Ltd                             ❑ Contingent
            Room 511, No. 1, No. 39, Xinchang                            ❑ Unliquidated
            Road, Haicang District, Xiamen                               ❑ Disputed
            Fujian China 361026
                                                                        eases rortne cia~m: trade vendor
            Dates) debt was incurred 2020
            Last 4 digits of account number 4822                         Is the claim subject to offset? ~ No ❑Yes


~i 3.23_    Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is: Check all that apply.     $438,200.72
            Yangjiang Homelife Industry & Tradi                          ❑ Contingent
            3/F, No. 16, Building H, Green Lake                          ❑ Unliquidated
             Garden, XinJiang North Road                                ~ Disputed
             Yangjiang, 529500
                                                                        Basis forthe claim: tl'aClO V@IldOf
            Dates) debtwas incurred 2023
            Last 4 digits of account number 3447                         Is the claim subject to offset? ~ No ❑Yes

 3.24      J Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that appry.     $218,273.68
            Yangjiang Kimberi Trading Co., Ltd.                         ❑ Contingent
            No. 12 Nawei Industrial Zone II                             ❑ Unliquidated
            Dongcheng Town
                                                                        ~ Disputed
            Yangdong District, Yangjiang
                                                                        saris fortne claim: trade vendor
            Dates) debtwas incurred 2023
            Last 4 digits of account number 3041                        Is the claim subject to offset? ~ No ❑Yes


X325        Nonpriority creditor's name and mailing address             As of the petition filing date, the Claim is: Check all that apply.       $7,950.00
            Yiwu Beta Trading Co., Ltd                                  ❑ Contingent
            Floor 9, Gefeng Mansion,                                    ❑ Unliquidated
            Chengbei Road, Houzhai Subdistrict                          ❑ Disputed
            Yiwu, Zhejiang, China 322008
                                                                        sass fortne cia~m: trade vendor
            Dates) debt was incurred 2024
            Last 4 digits of account number _                           Is the claim subject to offset? ~ No ❑Yes




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 4 of 5
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 Debtor      Heycart
                 _   Inc
                      __                                                                            Case number (if known)
              -_
             Name
  --
 3.26    I Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.            $166,353.38
          Zenpack                                                          ❑ Contingent
          1050 N. 5th St, Ste #30                                          ❑ Unliquidated
          San Jose, CA 95112
                                                                           ~ Disputed
          Dates) debt was incurred 2022
                                                                           eases fo.tne claim: trade vendor
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? ~ No ❑Yes



             List Others to Be Notified About Unsecured Claims
                                                                                                                                                        ---
4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                 On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                   related creditor (if any) listed?               account number, if
                                                                                                                                                   any

             Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                          5a.   $                                0.00
 5b. Total claims from Part 2                                                                          5b. + $                       22,555,626.44

 5c. Total of Parts 1 and 2
      Lines 5a + 5b = 5c.                                                                              5c.       $                      22,555,626.44




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 5
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 Debtor name      Heycart Inc

 United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA-SA __

 Case number (if known)
                                                                                                                            ❑ Check if this is an
                                                                                                                              amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
      ❑ No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      ■ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/8: Assets -Real and Personal         Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                  State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contractor unexpired
                                                                             lease

 2.1.      State what the contract or            Office space
           lease is for and the nature of
           the debtor's interest
                                                                                  SPUS8 2600 Michelson, LP
               State the term remaining          Two years                        c/o CBRE, Inc
                                                                                  2600 Michelson Dr., #100
           List the contract number of any                                        Irvine, CA 92612
                 government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Debtor name      Heycart Inc

 United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA-SA

 Case number (if known)                               __
                                                                                                                           ❑ Check if this is an
                                                                                                                             amended fling

Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

     1. Do you have any codebtors?

 ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 ■ Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



           Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Tony Li                     2600 Michelson Dr., #1430                                 U.S. Small Business             ■D    2.3
                                      Irvine, CA 92612                                          Administration                  ❑ E/F
                                                                                                                                ❑G




   2.2    Tony Li                     2600 Michelson Dr., #1430                                 Sellersfunding                  ■ p   2,2
                                      Irvine, CA 92612                                                                          ❑ E/F
                                                                                                                                ❑G




Official Form 206H                                                     Schedule H: Your Codebtors                                            Page 1 of 1
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 Debtor name        Heycart Inc

 United States Bankruptcy Court for the:    CENTRAL DISTRICT OFCALIFORNIA-SA

 Case number (if known)               _
                             - ---
                                                                                                                               ❑ Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               oai22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

             Income

1. Gross revenue from business

      ❑ None.

      Identify the beginning and ending dates of the debtor's fiscal year,             Sources of revenue                         Gross revenue
      which may be a calendar year                                                     Check all that apply                       (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            ■ Operating a business                             $1,772,493.19
      From 1/01/2024 to Filing Date
                                                                                       ❑ Other



      For prior year:                                                                  ■ Operating a business                            $25,001,379.40
      From 1/01/2023 to 12/31/2023
                                                                                       ❑ Other



      For year before that:                                                            ■ Operating a business                            $38,549,924.96
      From 1/01/2022 to 12/31/2022
                                                                                       ❑ Other

2. Non-business revenue
   I nclude revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in dine 1.

      ■ None.

                                                                                       Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

            List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments ortransfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     ❑ None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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 Debtor       Heycart Inc                                                                        Case number ~iFknown~



       Creditor's Name and Address                                  Dates                 Total amount of value          Reasons for payment or transfer
                                                                                                                         Check all that apply
       3.1.
              See Attachment.                                       See                                     $0.00        ❑Secured debt
                                                                    Attachment.                                          ❑ Unsecured loan repayments
                                                                                                                         ❑ Suppliers or vendors
                                                                                                                         ❑ Services
                                                                                                                         ❑ Other_


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575.(This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      ❑ None.

      Insider's name and address                                    Dates                 Total amount of value          Reasons for payment or transfer
      Relationship to debtor
      4.1. Aiden Chien                                             1/31/24                           $10,000.00          Aiden put in $10,000 on 1/31 to
            2600 Michelson Dr., #1430                                                                                    prevent cash flow from going
            Irvine, CA 92612                                                                                             negative.
            Shareholder
                                                                                                                         See Attachment.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      ■ None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
   debt.

      ■ None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

              Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

     ❑ None.

           Case title                                  Nature of case              Court or agency's name and                 Status of case
           Case number                                                             address
      7.1. Xiamen HBD Industry &Trade                  Collection                  U.S. District Court, Central               ■pending
           Co., Ltd., et al. v. Heycart, Inc.                                      District                                   ❑ On appeal
           8:24-cv-00045                                                           350 W. First St.
                                                                                                                              ❑Concluded
                                                                                   Los Angeles, CA 90012

      7.2. Panda Logistics Chicago, Inc.               Collection                  Orange County Superior                     ■Pending
           v. Heycart, Inc.                                                        Court                                      ❑ On appeal
           30-2023-01352473-CU-BC-CJC                                              700 Civic Center Drive West                p Concluded
                                                                                   Santa Ana, CA,CA 92701

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 Debtor      Heycart Inc                                                                         Case number ~i~anown~
                                      __


              Case title                               Nature of case              Court or agency's name and             Status of case
              Case number                                                          address
      7.3.    2023 Zhejiang 0211                      Product quality              Ningbo Zhenhai District                ■Pending
              Civil Appeal No. 1347                   dispute                      People's Court                         ❑ On appeal
                                                                                   No. 8, Guangda Road,
                                                                                                                          ❑Concluded
                                                                                   Zhenhai District,
                                                                                   Ningbo City, Zhejiang
                                                                                   315200


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      ■ None


             Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      ■ None

              Recipients name and address             Description of the gifts or contributions                  Dates given                          Value


             Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     ■ None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                           lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets —Real and Personal Property).

             Certain_ Payments or Transfers

1 1. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
     of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
     relief, or filing a bankruptcy case.

     ❑ None.




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 Debtor         Heycart Inc                                                                      Case number ~ifknow~~



                  Who was paid or who received            If not money, describe any property transferred              Dates                Total amount or
                  the transfer?                                                                                                                       value
                  Address
                                                          banning Gill was initially paid a retainer of
                                                          $100,000 (plus the filing fee). Before the
                                                          petition filing, the firm drew on the
                 DANNING GILL ISRAEL &                    retainer in the amount of $24,701.57, and
                 KRASNOFFLLP                              the debtor replenished its retainer in that
                 1901 AVENUE OF THE STARS                 amount. Accordingly the firm is holding a
                 SUITE 450                                retainer of $100,000 as of the filing date, to
                 Los Angeles, CA 90067                    be drawn upon per UST requirements.                                                  $124,701.57

                  Email or website address
                  https://danninggill.com/

                  Who made the payment, if not debtor?




       1 1.2.                                             Armory was initially paid retainers of
                                                          $25,000 and $10,000. Before the petition
                                                          filing, the firm drew on the retainer for
                                                          approximately $22,000. Accordingly, the
                 Armory Consulting Co.                    firm is holding a balance of about $13,000
                 3943 Irvine Blvd., #253                  as of the filing date, to be drawn upon per
                 Irvine, CA 92602                         UST requirements.                                                                      $35,000.00

                 Email or website address
                 armoryconsulting.com

                  Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to aself-settled trust or similar device.
    Do not include transfers already listed on this statement.

      ■ None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

     ■ None.

                Who received transfer?                 Description of property transferred or                    Date transfer              Total amount or
                Address                                payments received or debts paid in exchange               was made                             value

                Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


     ■ Does not apply

                 Address                                                                                           Dates of occupancy
                                                                                                                   From-To

                Health Care Bankruptcies
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 Debtor        Heycart Inc                                                                           Case number ~uk~ow~~




15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      ■       No. Go to Part 9.
      ❑       Yes. Fill in the information below.


                 Facility name and address                 Nature of the business operation, including type of services             If debtor provides meals
                                                           the debtor provides                                                      and housing, number of
                                                                                                                                    patients in debtor's care

               Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      ■       No.
      ❑       Yes. State the nature of the information collected and retained.

1 7. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA,401(k), 403(b), or other pension or
     profit-sharing plan made available by the debtor as an employee benefit?

      ❑       No. Go to Part 10.
      ■       Yes. Does the debtor serve as plan administrator?

                    ❑ No Go to Part 10.
                    ■ Yes. Fill in below:
                    Name of plan                                                                           Employer identification number of the plan
                    ADP 401K PLANS                                                                         EIN: 821773445

                    Has the plan been terminated?
                    ■ No
                    ❑ Yes


 •.       ~    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      ■ None
            Financial Institution name and                Last 4 digits of            Type of account or          Date account was                Last balance
            Address                                       account number              instrument                  closed, sold,               before closing or
                                                                                                                  moved, or                            transfer
                                                                                                                  transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      ■ None

      Depository institution name and address                   Names of anyone with                  Description of the contents              Does debtor
                                                                access to it                                                                   still have it?
                                                                Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


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 Debtor     Heycart Inc                                                                          Case number ~rrknown~




      ❑ None

      Facility name and address                             Names of anyone with                   Description of the contents               Does debtor
                                                            access to it                                                                     still have it?
      Tongcheng Logistics Inc.                              Aiden Chien and Tony Li.               Home and kitchen products.                ❑ No
      566 Vanguard Way                                                                                                                       ■Yes
      Unit A
      Brea, CA 92821

      Victory Maritime Services USA                         Aiden Chien and Tony Li.               Home and kitchen products.                ❑ No
      9208 Charles Smith                                                                                                                     ■Yes
      Rancho Cucamonga, CA 91730

      Cirro                                                 Aiden Chien and Tony Li.               Home and kitchen products.                ❑ No
      14779 Bar Harbor Road                                                                                                                  ■Yes
      Fontana, CA 92336



            Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    ■ None


            Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     ■     No.
     ❑     Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

     ■     No.
     ❑     Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known            Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

     ■     No.
     ❑     Yes. Provide details below.


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 Debtor     Heycart Inc                                                                          Case number ~uk~ow~~



      Site name and address                                  Governmental unit name and                Environmental law, if known              Date of notice
                                                             address

             Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    I nclude this information even if already listed in the Schedules.

      ■ None

    Business name address                             Describe the nature of the business              Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
         ❑ None

       Name and address                                                                                                                Date of service
                                                                                                                                       From-To
      26a.1.        Xuejing Zhang                                                                                                      8/10/2021 - 2/15/2024
                    2600 Michelson Dr., #1430
                    Irvine, CA 92612
      26a.2.        Rutian Jin                                                                                                         6/1/2023 -present
                    2600 Michelson Dr., #1430
                    Irvine, CA 92612

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
         within 2 years before filing this case.

          ❑ None

       Name and address                                                                                                                Date of service
                                                                                                                                       From-To
      26b.1.        The Milley Group LLC DBA Sequoia Tax                                                                               5/10/2017 -present
                    & Financial Services
                    33 E. Valley Blvd. Ste 205
                    Alhambra, CA 91801

    26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

          ❑ None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Rutian Jin
                    2600 Michelson Dr., #1430
                    Irvine, CA 92612
      26c.2.        The Milley Group LLC
                    DBA Sequoia Tax &Financial Services
                    33 E. Valley Blvd., Ste 205
                    Alhambra, CA 91801

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          ❑ None

      Name and address



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 Debtor     Heycart Inc                                                                         Case number ~uk~ow~~



      Name and address
      26d.1.  Clearco
              33 Yonge St, Suite 1200,
              Toronto, ON M5E 1G4                                    __   _                         _                                     _       _      __
      26d.2.        BIueX Trade
                    104, Taiwan, Taipei City
                    Zhongshan District, Section
                    2, Nanjing E Rd, no.132 11F

      26d.3.        Sellersfunding
                    1290 Weston Rd., Suite 306
                    Fort Lauderdale, FL 33326
                                                                                                                                                      __ —

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

      ■    No
      ❑    Yes. Give the details about the two most recent inventories.

              Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis(cost, market,
              inventory                                                                                     or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                  Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Tony Li                                2600 Michelson Dr., #1430                           Chief Executive Officer                 55
                                             Irvine, CA 92612

       Name                                  Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Aiden Chien                                                                                Chief Operating Officer                 45
                                             2600 Michelson Dr., #1430
                                             Irvine, CA 92612



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


     ■     No
     ❑     Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

     ❑     No
     ■     Yes. Identify below.

              Name and address of recipient           Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Tony Li                                                                                              2~27~23"2~2~~2
      .                                               $96,388.89.                                               4                   See Attachment.

             Relationship to debtor
             Chief Executive Officer
                                               __




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                 Nemo and addrass of rocipiunt              Amount of money or doscriptlon end value at              Datas                Roaaon ipr
                                                            prpporty                                                                      providing the value

          30.2 Aden Chien                                                                                                                 See httachmant.

                 Raistlonship to debtor
                 Chief Operating OPRcer



 31.            6 years batoro filing this case, has tho dobtor boon a mom6or of any consofldatud group for tax purpososl

          ■    No
          O    Yes. Ideniily below,

     'Namo of tho parent corporation                                                                      Employer Identttication number of the paront
                                                                                                          corporation
     i
 32 ,Within 6 yoars boto~o piing this caso, has tho dobtor as an omployor boon rosponsibio for contributing to a ponsion
                                                                                                                                        tund7

     ~ O       r,n
     i ■       Yes, Identify below.

     iName of thu pension fund                                                                            Employer ldendflcatian number of the pension
                                                                                                          fund
     ~AdP d01 K PLAN5                                                                                     EIN:      821773445


                           and Ooclaration
                                                                                                           or obtaining money or property by fraud in
         WARNING — 6ankrupicy fraud is a serious crime. Making a false statement, concealing property,
                                                                                                           years, or both.
         connection with a bankruptcy case can result in fines up to 5540,000 ar imprisonment for up to 2d
         78 U.S,C.§§ 152, 7341, 1519, and 3571,
                                                                                                        and have a reasonable belief that the information is true
          have examined the intormelion in This 5tafement ofFinancial ANalrs and any attachments
         and correct.

           declare under penalty of perjury that the foregoing Is true and correct.

         ~cuted on    02l2$l2g2d

                                                                    Alden Chien
                                      on behalf of the debtat       Printetl name                   ~~~

              or relationship to debtor    Chief Operating Officer                             _

                                                                    Non-individuals Fiing for Bankruptcy(OHicial Form 207} attachod?
         additional pages io Statement ofFinancialAlTatrs for

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                                                                                                                                                           page 9
          form 207                              Statcmant of FlnenCial Aftain Ipr Nan~indfvidoala Filfig for Bankruptcy
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                              In re Heycart Inc


                  ATTACHMENT TO
           STATEMENT (OF FINANCIAL AFFAIRS


  3. Certain payments or transfers to creditors within 90
     days before filing this case
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Heycart, Inc.
90 Day Payments
11/28/23-2/27/24


DATE          VENDOR                                 AMOUNT
12/4/23       8FIG                                        (0.50)
12/11/23      8FIG                                        (0.50)
12/14/23      8FIG                                  (100,000.00)
12/18/23      8FIG                                        (0.50)
12/26/23      8FIG                                        (0.50)
12/28/23      8FIG                                  (200,000.00)
1/2/24        BFIG                                        (0.50)
11/30/23      8FIG                                  (100,000.00)
1/8/24        8FIG                                       (0.50)
1/11/24       8FIG                                 (200,000.00)
1/16/24       8FIG                                       (0.50)
1/22/24       8FIG                                       (0.50)
1/29/24       8FIG                                       (0.50)
1/31/24       8FIG                                       (0.50)
2/5/24        8FIG                                       (0.50)
2/8/24       8FIG                                  (100,000.00)
2/12/24      8FIG                                        (0.50)
2/20/24      8FIG                                        (0.50)
             8FIG Totai                            (700,006.50)
12/1/23       ABNEYCREATIVE                          (6,093.75)
12/20/23      ABNEYCREATIVE                          (5,093.75)
1/16/24       ABNEYCREATIVE                          (4,375.00)
              ABNEYCREATIVE Total                   (15,562.50)
12/13/23      ADP Payroll                           (40,402.62)
12/13/23     ADP Payroll                             (9,735.48)
12/14/23     ADP Payroll                               (272.83)
12/15/23     ADP Payroll                             (9,667.11)
12/18/23     ADP Payroll                            (37,305.39)
12/18/23     ADP Payroll                            (37,305.38)
12/18/23     ADP Payroll                             (9,640.10)
12/22/23     ADP Payroll                             (3,080.11)
12/22/23     ADP Payroll                               (354.21)
12/26/23     ADP Payroll                             (3,080.11)
12/29/23     ADP Payroll                               (154.21)
12/29/23     ADP Payroll                                (39.96)
1/2/24       ADP Payroll                            (64,485.05)
1/5/24       ADP Payroll                            (76,508.06)
1/9/24       ADP Payroll                             (8,410.11)

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Heycart, Inc.
90 Day Payments
11/28/23-2/27/24


DATE          VENDOR                                   AMOUNT
1/12/24       ADP Payroll                                (275.52)
1/12/24       ADP Payroll                                (156.81)
1/16/24       ADP Payroll                              (30,166.80)
1/17/24       ADP Payroll                              (58,221.09)
1/19/24       ADP Payroll                                  (35.00)
1/22/24       ADP Payroll                               (4,193.88)
1/22/24       ADP Payroll                                (713.85)
1/26/24       ADP Payroll                                (156.81)
1/26/24       ADP Payroll                                  (39.96)
1/30/24       ADP Payroll                              (52,474.61)
1/30/24       ADP Payroll                              (23,431.52)
1/31/24       ADP Payroll                                (197.40)
2/6/24        ADP Payroll                               (3,591.65)
2/9/24        ADP Payroll                               (3,591.65)
2/9/24        ADP Payroll                                (156.81)
11/28/23      ADP Payroll                               (3,130.11)
12/1/23       ADP Payroll                                (154.21)
2/16/24       ADP Payroll                              (15,382.87)
2/16/24       ADP Payroll                              (41,739.02)
2/23/24       ADP Payroll                                (154.21)
2/23/24       ADP Payroll                                  (39.96)
              ADP Payroll Total                       (538,444.47)
11/30/23      Amazon Advertising                      (189,384.26)
12/29/23      Amazon Advertising                      (391,410.08)
2/2/24        Amazon Advertising                      (491,509.38)
              A mazon Advertising Total             (1,072,303.72)
12/20/23      ANTHEM BLUE                               (3,103.12)
1/22/24       ANTHEM BLUE                               (3,033.12)
2/20/24       ANTHEM BLUE                               (3,290.88)
              ANTHEM BLUE Total                         (9,427.12)
2/8/24        Armory Consulting                        (25,000.00)
              Armory Consulting Total                  (25,000.00)
12/28/23      BIueX Trade                             (392,327.85)
12/28/23      BIueX Trade                             (286,817.51)
12/29/23      BIueX Trade                             (133,325.29)
1/5/24        BLUEX TRADE                             (392,356.28)
1/18/24       BLUEX TRADE                             (450,430.13)
              BIueX Trade Total                     (1,655,257.06)

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Heycart, inc.
90 Day Payments
11/28/23-2/27/24


DATE          VENDOR                                    AMOUNT
1/26/24       BOA 4838                                     (231.00)
2/13/24       BOA 4838                                 (150,000.00)
              BOA 4838 Total                           (150,231.00)
2/16/24       BOA 8588                                  (50,000.00)
              BOA 8588 Total                            (50,000.00)
2/16/24       Braunco Inc                               (14,000.00)
              Braunco Inc Total                         (14,000.00)
12/22/23      CBRE                                       (8,990.03)
1/26/24       CBRE                                       (8,994.00)
              CBRE Total                                (17,984.03)
12/12/23      CC 0207                                    (2,145.00)
12/28/23      CC 0207                                    (1,000.00)
1/10/24       CC 0207                                    (1,500.00)
1/16/24       CC 0207                                    (2,000.00)
2/20/24       CC 0207                                      (500.00)
11/30/23      CC 0207                                      (183.82)
1/10/24       CC 0207                                      (890.00)
              CC 0207 Total                              (8,218.82)
12/5/23       CC 0302                                    (4,506.31)
12/28/23      CC 0302                                    (4,410.46)
1/16/24       CC 0302                                    (4,440.30)
              CC 0302 Total                             (13,357.07)
12/13/23      Chang Cote LLP                             (6,190.83)
1/11/24       Chang Cote LLP                               (682.50)
1/31/24       Chang Cote LLP                            (25,000.00)
              Chang Cote LLP Total                      (31,873.33)
1/12/24       China Commercial Law Firm                    (411.72)
1/16/24       China Commercial Law Firm                    (411.47)
2/20/24       China Commercial Law Firm                  (4,980.22)
12/12/23      China Commercial Law Firm                  (3,564.81)
              China Commercial Law Firm Total            (9,368.22)
12/28/23      CIT16938                                  (19,281.00)
              CITI 6938 Total                           (19,281.00)
1/12/24       CITI Checking (6938)                      (19,781.00)
1/26/24       CITI Checking (6938)                      (17,520.00)
              CITI Checking (6938) Total                (37,301.00)
12/1/23       Citi6938                                  (17,453.00)
12/15/23      CIT16938                                  (17,230.00)

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Heycart, Inc.
90 Day Payments
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DATE          VENDOR                                    AMOUNT
              Citi6938 Total                             (34,683.00)
11/29/23      CLEARCO                                     (1,538.47)
11/29/23      CLEARCO                                       (215.38)
12/6/23       CLEARCO                                     (1,538.47)
12/6/23       CLEARCO                                       (215.38)
12/13/23      CLEARCO                                     (1,538.47)
12/13/23      CLEARCO                                      (215.38)
12/20/23      CLEARCO                                      (967.47)
12/21/23      CLEARCO                                       (571.00)
12/21/23      CLEARCO                                       (215.38)
12/27/23      CLEARCO                                     (1,538.47)
12/27/23      CLEARCO                                       (215.28)
2/2/24        CLEARCO                                    (12,015.14)
2/2/24        CLEARCO                                     (1,682.12)
2/6/24        CLEARCO                                    (11,528.26)
2/6/24        CLEARCO                                     (1,613.96)
2/6/24        CLEARCO                                     (4,076.45)
2/6/24        CLEARCO                                      (570.70)
              CLEARCO Total                             (40,255.78)
1/29/24       banning Gill Israel                       (15,000.00)
2/7/24        banning Gill Israel                       (86,738.00)
              banning Gill Israel Total                (101,738.00)
11/30/23      Employee Reimbursement                        (40.99)
12/14/23      Employee Reimbursement                       (422.00)
12/28/23      Employee Reimbursement                     (4,590.89)
1/9/24        Employee Reimbursement                       (153.78)
1/9/24        Employee Reimbursement                        (98.68)
1/10/24       Employee Reimbursement                     (1,292.94)
2/13/24       Employee Reimbursement                    (10,000.00)
2/22/24       Employee Reimbursement                       (140.40)
12/13/23     Employee Reimbursement                        (200.00)
12/19/23     Employee Reimbursement                         (44.01)
             Employee Reimbursement Total               (16,983.69)
12/29/23     Fujian Bridge                              (48,647.73)
             Fujian Bridge Total                        (48,647.73)
11/30/23     FUZHOU YIBANG                               (5,011.68)
12/6/23      FUZHOU YIBANG                              (20,405.40)
12/14/23     FUZHOU YIBANG                               (4,485.32)

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Heycart, Inc.
90 Day Payments
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DATE          VENDOR                                    AMOUNT
12/28/23      FUZHOU YIBANG                             (50,799.08)
1/12/24       FUZHOU YIBANG                              (1,472.36)
12/15/23      FUZHOU YIBANG                              (2,952.00)
11/28/23      FUZHOU YIBANG                             (11,755.68)
              FUZHOU YIBANG Total                       (96,881.52)
2/6/24        HEIGHTS INSURANC                          (18,554.86)
2/21/24       HEIGHTS INSURANC                           (6,042.85)
              HEIGHTS INSURANC Total                    (24,597.71)
12/28/23      Incrementum                               (49,232.85)
1/24/24       Incrementum                                  (395.00)
2/14/24       Incrementum                               (30,000.00)
2/23/24       Incrementum                               (49,505.84)
              Incrementum Total                        (129,133.69)
12/29/23      KAISER                                    (17,569.66)
1/23/24       Kaiser                                     (4,005.48)
2/23/24       Kaiser                                     (4,921.92)
              KAISER Total                              (26,497.06)
12/6/23       LOGGER CREATIVE                            (7,401.71)
12/6/23       LOGGER CREATIVE                            (2,266.00)
12/20/23      LOGGER CREATIVE                            (2,520.00)
12/20/23      LOGGER CREATIVE                            (2,500.00)
12/20/23      LOGGER CREATIVE                            (2,059.00)
2/9/24        LOGGER CREATIVE                              (506.15)
              LOGGER CREATIVE Total                     (17,252.86)
11/30/23      PANDA LOGISTICS                           (65,000.00)
12/28/23      PANDA LOGISTICS                          (100,000.00)
1/31/24       PANDA LOGISTICS                           (75,000.00)
              PANDA LOGISTICS Total                    (240,000.00)
12/1/23       Seller Funding                            (14,231.46)
12/1/23       Seller Funding                             (2,518.54)
12/15/23      Seller Funding                            (14,324.51)
12/15/23      Seller Funding                             (2,425.49)
12/29/23     Seller Funding                             (14,418.17)
12/29/23     Seller Funding                              (2,331.83)
1/12/24      Seller Funding                             (14,512.44)
1/12/24      Seller Funding                              (2,237.56)
1/26/24      Seller Funding                             (14,607.33)
1/26/24      Seller Funding                              (2,142.67)

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Heycart, Inc.
90 Day Payments
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DATE          VENDOR                                     AMOUNT
2/9/24        Seller Funding                             (14,702.85)
2/9/24        Seller Funding                              (2,047.15)
2/23/24       Seller Funding                             (16,750.00)
              Seller Funding Total                      (117,250.00)
1/8/24        SHANGHAI TOPKO                             (20,000.00)
              SHANGHAI TOPKO Total                       (20,000.00)
1/3/24        Shenzhen Minshunlong                       (38,146.68)
1/23/24       Shenzhen Minshunlong                        (3,352.32)
              Shenzhen Minshunlong Total                 (41,499.00)
1/2/24        STELLO MARKETING                           (13,179.28)
1/8/24        STELLO MARKETING                           (33,431.15)
1/12/24       STELLO MARKETING                            (9,281.52)
1/17/24       STELLO MARKETING                           (23,449.29)
1/18/24       STELLO MARKETING                           (18,248.11)
1/24/24       STELLO MARKETING                            (4,051.53)
              STELLO MARKETING Total                    (101,640.88)
12/28/23      Tongcheng Logistics                       (150,000.00)
1/8/24        TONGCHENG LOGISTICS                        (84,082.16)
2/12/24       Tongcheng Logistics                       (100,000.00)
              Tongcheng Logistics Total                 (334,082.16)
12/28/23      US Elogistics                              (28,234.49)
1/17/24       US Elogistics                              (12,573.15)
              US Elogistics Total                        (40,807.64)
2/14/24       VMS                                        (14,825.06)
12/14/23      VMS                                        (16,352.04)
              VMS Total                                  (31,177.10)
11/30/23      XIAMEN YOULIKE                             (20,000.00)
11/30/23      XIAMEN YOULIKE                             (50,000.00)
12/15/23      XIAMEN YOULIKE                           (300,000.00)
12/21/23      XIAMEN YOULIKE                             (40,000.00)
12/27/23      XIAMEN YOULIKE                             (25,000.00)
12/28/23      XIAMEN YOULIKE                           (131,000.00)
1/10/24       XIAMEN YOULIKE                             (20,000.00)
1/16/24       XIAMEN YOULIKE                           (300,000.00)
1/22/24       XIAMEN YOULIKE                             (10,000.00)
2/7/24        XIAMEN YOULIKE                             (30,000.00)
12/27/23      XIAMEN YOULIKE                              (4,000.00)
              XIAMEN YOULIKE Total                     (930,000.00)

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Heycart, Inc.
90 Day Payments
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DATE          VENDOR                                  AMOUNT
12/15/23      Yangjiang Homelife                       (20,000.00)
12/28/23      Yangjiang Homelife                       (50,000.00)
              Yangjiang Homelife Total                (100,000.00)
11/29/23      YANGJIANG KIMBERI                         (9,211.20)
12/5/23       YANGJIANG KIMBERI                         (4,508.64)
1/12/24       YANGJIANG KIMBERI                        (54,921.24)
2/15/24       YANGIIANG KIMBERI                        (10,000.00)
2/15/24       YANGIIANG KIMBERI                           (473.15)
              YANGJIANG KIMBERI Total                  (79,114.23)
12/20/23      ZENPACK                                  (20,000.00)
12/29/23      ZENPACK                                  (37,908.85)
12/29/23      ZENPACK                                  (22,091.15)
              ZENPACK Total                            (80,000.00)




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                              In re Heycart Inc


                  ATTACHMENT TO
           STATEMENT OF FINANCIAL AFFAIRS



  4    Payments or other transfers of property made within 1 year before
       filing this case that benefited any insider


   30. Payments, distributions, or withdrawals credited or given to
       insiders
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                                               Heycart Inc.
                                           Transaction Report
                                    Loans to Officers (2/27/23-2/27/24)

               Memo/Descrip
     Date           tion      Name            Account                     Split       Amount
               HEYCART
03/31/2023     INC:Tony Li  Tony       Due from Employee      BOA Checking (8588)       10,000.00
               HEYCART
04/28/2023     INC:Tony Li  Tony       Due from Employee      BOA Checking (8588)       10,000.00
               HEYCART
06/05/2023     INC:Tony Li  Tony       Due from Employee      BOA Checking (8588)        9,961.00
               HEYCART
07/03/2023     INC:Tony Li  Tony       Due from Employee      BOA Checking (8588)        9,974.00
               HEYCART
07/28/2023     INC:Tony Li  Tony       Due from Employee      BOA Checking (8588)        9,967.00
               TYPE:WIRE
09/05/2023     OUT          Tony       Due from Employee      BOA Checking (8588)        9,981.00

10/04/2023     Tony Li       Tony      Due from Employee      BOA Checking (8588)       10,440.00
               DOM WIRE
1 0/1 1/2023   OUT           Tony      Due from Employee      CITI Checking (6938)      21,475.00
               HEYCART
12/28/2023     INC:Tony Li   Tony      Due from Employee      BOA Checking (8588)       4,590.89
                                                                                     $ 96,388.89
                                                                    Payroll Summary



12/22/2023             LI, TONY B              0.00     20,000.00           451.78     1,375 52     18,172.70   DD          878.75     20,878.75
12/21/2023             LI, TONY B              0.00     20,000.00           451.77     1,375.52     18,172.71   DD          878.75     20,878.75
11/20/2023             LI, TONY B              0.00     20,000.00           451.78     1,375.52     18,172.70   DD          878.75     20,878.75
11!03/2023             Chien, Haomin           0.00     20,750.00         6,169.98     1,238.54     13,341.48   DD          914.44     21,664.44
11/03/2023             LI, TONY B              0.00     20,000.00           451.77     1,375.52     18,172.71   DD          878.75     20,878.75
10/18!2023             Chien, Haomin           0.00     20,750.00         6,146.32     1,238.54     13,365.14   DD          914.44     21,664.44
10/18/2023             LI, TONY B              0.00     20,000.00           337.17     1,375.52     18,287.31   DD          878.75     20,878.75
10/06/2023             Chien, Haomin           0.00     10,750.00         2,268.89       938.54      7,542.57   DD          469.44     11,219.44
10/06/2023             LI, TONY B              0.00     10,000.00           133.75     1,075.52      8,790.73   DD          433.75     10,433.75
09/20/2023             Chien, Haomin           0.00     10,750.00         2,268.88       938.54      7,542.58   DD          469.44     11,219.44
09/20/2023             LI, TONY B              0.00     10,000.00           133.76     1,075.52      8,790.72   DD          433.75     10,433.75
09/06/2023             Chien, Haomin           0.00     10,750.00         2,224.67     1,062.46      7,462.87   DD          467.65     11,217.65
                                                                                                                                                                          Case 8:24-bk-10483-TA




09/06/2023             LI, TONY B              0.00     10,000.00           178.78       979.99      8,841.23   DD          478.78     10,478.78
08/18/2023             Chien, Haomin           0.00     10,750.00         2,417.87     1,062.46      7,269.67   DD          660.84     11,410.84
08/18/2023             LI, TONY B              0.00     10,000.00           739.87       979.99      8,280.14   DD        1,012.98     11,012.98
08/04/2023             Chien, Haomin           0.00     10,750.00         2,900.11     1,062.46      6,787.43   DD        1,088.27     11,838.27
08!04/2023             LI, TONY B              0.00     10,000.00           796.86       979.99      8,223.15   DD        1,012.98     11,012.98
07/20/2023             Chien, Haomin           0.00     10,750.00         2,935.38     1,062.46      6,752.16   DD        1,08827      11,838.27
07/20/2023             LI, TONY B              0.00     10,000.00           796.86       979.99      8,223.15   DD        1,012.98     11,012.98
07/06/2023             Chien, Haomin           0.00     10,750.00         2,935.39     1,062.46      6,752.15   DD        1,088.27     11,838.27
07/06/2023             LI, TONY B              0.00     10,000.00           796.86       979.99      8,223.15   DD        1,012.98     11,012.98
06/21/2023             Chien, Haomin           0.00     10,750.00         2,935.39     1,062.46      6,752.15   DD        1,088.27     11,838.27
06/21/2023             LI, TONY B              0.00     10,000.00           796.86       979.99      8,223.15   DD        1,012.98     11,012.98
                                                                                                                                                   Main Document




06!05/2023             Chien, Haomin           0.00     10,750.00         3,020.30       863.96      6,865.74   DD        1,103.45     11,853.45
06/05/2023             LI, TONY B              0.00     10,000.00           796.86       979.99      8,223.15   DD        1,012.98     11,012.98
05/19/2023             Chien, Haomin           0.00     10,750.00         3,020.29       863.96      6,865.75   DD        1,103.45     11,853.45
05/19/2023             LI, TONY B              0.00     10,000.00           796.86       979.99      8,223.15   DD        1,012.98     11,012.98
05/05/2023             Chien, Haomin           0.00     10,750.00         3,020.30       863.96      6,865.74   DD        1,103.45     11,853.45
05/05/2023              LI, TONY B             0.00     10,000.00           796.86       979.99      8,223.15   DD        1,012.98     11,012.98
04/20/2023             Chien, Haomin           0.00     10,750.00         3,020.30       863.96      6,865.74   DD        1,103.45     11,853.45
04/20/2023              LI, TONY B             0.00     10,000.00           796.86       979.99      8,223.15   DD        1,012.98     11,012.98
04/05/2023             Chien, Haomin           0.00     10,000.00         2,707.16       841.46      6,451.38   DD        1,023.58     11,023.58
04/05/2023              LI, TONY B             0.00     10,000.00           796.86       979.99      8,223.15   DD        1,012.98     11,012.98
03/20/2023             Chien, Haomin           0.00     10,000.00         2,707.16       841.46      6,451.38   DD        1,023.58     11,023.58
                                                                                                                                                                    Page 50 of 60




03/20!2023              LI, TONY B             0.00     10,000.00           796.86       979.99      8,223.15   DD        1,012.98     11,012.98
03/03/2023             Chien, Haomin           0.00     10,000.00         2,707.14       841.46      6,451.40   DD        1,023.58     11,023.58
03/03/2023              LI, TONY B             0.00     10,000.00           796.86       979.99      8,223.15   DD        1,012.98     11,012.98
02/28/2024             Chien, Haomin           0.00     23,250.00         8,903.58       616.04     13,730.38   78        1,731.50     24,981.50
02/28/2024              LI, TONY B             0.00     22,500.00         1,900.89     1,450.52     19,148.59   80        2,336.92     24,836.92
02/22/2024              LI, TONY B             0.00     22,500.00         1,900.90     1,450.52     19,148.58   DD        2,336.92     24,836.92
02/05/2024             Chien, Haomin           0.00     23,250.00         8,903.59       616.04     13,730.37   DD        1,731.50     24,981.50
02/05/2024              LI, TONY B             0.00     22,500.00         1,900.88     1,450.52     19,148.60   DD        2,336.92     24,836.92
01/19/2024             Chien, Haomin           0.00     23,250.00         8,903.59       616.04     13,730.37   DD        1,731.50     24,981.50
01/19/2024              LI, TONY B             0.00     22,500.00         1,900.90     1,450.52     19,148.58   DD        2,336.92     24,836.92
01/08/2024             Chien, Haomin           0.00     85,500.00        44,168.40     3,181.04     38,150.56   DD        9,310.63     94,810.63
01/08/2024             LI, TONY B              0.00     22,500.00         1,900.89     1,450.52
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                                                                                                    19,148.59   DD        2,588.92     25,088.92
Pay Frequency Totals: Semimonthly              0.00   $718,250.00      $145,885.04   $50,759.41   $521,605.55           $60,071.39   $778,321.39
Total Net Pays for Semimonthly frequency: 46
                                                                                                                                                                          Desc




Company: Heycart Inc                                                     1 of 2                                  Date Printed: 02/26/2024 17:28
Check dates from: 3/3/2023 -Payroll 1 to: 2/28/2024 -Payroll 1                                                              26577947 - KF/7XG
Pay Period from: 02/16/2023 to: 02/28/2024
                                                                  Payroll Summary

                                                     e..                                                            ~~. ~,~. .
Company Totals:                             0.00    $718,250.00      $145,885.04   $50,759.41   $521,605.55          $60,071.39   $778,321.39
Total Net Pays for Company: 46
                                                                                                                                                                       Case 8:24-bk-10483-TA
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Company: Heycart Inc                                                   2 of 2                                 Date Printed: 02/26/2024 17:28
Check dates from: 3/3/2023 -Payroll 1 to: 2/28/2024 -Payroll 1                                                           26577947 - KF/7XG
Pay Period from: 02/16/2023 to: 02/28/2024
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 Attorney or Party Name, Address, Telephone &FAX Nos., and State Bar No. &               FOR COURT USE ONLY
 Email Address                                                                      i~
Zev Shechtman
 1901 Avenue of the Stars, Suite 450
 Los Angeles, CA 90067-6006
(310)277-0077 Fax:(310) 277-5735
California State Bar Number: 266280 CA
zs@danninggill.com




 ~Attornev for.'
                                                  UNITED STATES BANKRUPTCY COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA

 I n re:                                                                        CASE NO.:
           Heycart Inc                                                          ADVERSARY NO.:
                                                                     Debtor(s), CHAPTER: 11

                                                                    Plaintiff(s),
                                                                                          CORPORATE OWNERSHIP STATEMENT
                                                                                             PURSUANT TO FRBP 1007(a)(1)
                                                                                               and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                                Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.7, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation's equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

 I, Zev Shechtman                                             , the undersigned in the above-captioned case, hereby declare
              (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




                 This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
oecember2o~2                                                                                                  F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required information.]
1.      I have personal knowledge of the matters set forth in this Statement because:
        ❑ I am the president or other officer or an authorized agent of the Debtor corporation
        ❑ I am a party to an adversary proceeding
        ❑ I am a party to a contested matter
        ■ I am the attorney for the Debtor corporation
2.a.    ❑The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
            class of the corporation's(s') equity interests:
           ( For additional names, attach an addendum to this form.]
   b.   ■There are no entities that directly or indirectly own 10% or more of any class of the corporation's equity interest.

  02/28/2024                                                                            By;          /s/ Zev Shechtman
 Date                                                                                          Signature of Debtor, or attorney for Debtor

                                                                                        Name:        Zev Shechtman
                                                                                                     Printed name of Debtor, or attorney for
                                                                                                     Debtor




               This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
~ecember2o~2                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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B2030 (Form 2030)(12/15)
                                                        United States Bankruptcy Court
                                                           Central District of California-SA
    In re    Heycart Inc                                                                                     Case No.
                                                                              Debtors)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS)
        Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtors) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me,for services rendered or to
        be rendered on behalf of the debtors) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $            Hourly Billing_
             Prior to the filing of this statement I have received                                       $                124,701.57*
             Balance Due                                                                                 $                     0.00
                                                                                                                  "Prepetition retainer. Amount remaining
2.      The source ofthe compensation paid to me was:                                                             to be drawn down pursuant to UST
                                                                                                                  requirements.
             ■ Debtor           ❑    Other (specify):

3.      The source of compensation to be paid to me is:

             ■ Debtor           ❑    Other (specify):

4.      ■ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

        ❑ I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
          copy of the agreement, together with a list ofthe names of the people sharing in the compensation is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e. [Other provisions as needed]


G      By agreement with the debtor(s), the above-disclosed fee does not include the following service:


                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtors) in
this bankruptcy proceeding.

      02/28/2024                                                              /s/ Zev Shechtman
      Date                                                                 Zev Shechtman
                                                                           Signature ofAttorney
                                                                            banning, Gill, Israel &Krasnoff, LLP
                                                                            1901 Avenue of the Stars, Suite 450
                                                                            Los Angeles, CA 90067-6006
                                                                           (310) 277-0077 Fax:(310) 277-5735
                                                                           zs@danninggill.com
                                                                           Name oflawfirm
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        _.~_~W ___.__
    Aitomey or Party Name, Address '~eiephpne
   8fate Bar No. ~ ~maii Address
  ~ ~sv 5hochtman
    99i~9 Avenue Qf tho Stars, Suite 45U
    Lrrs Arsgeles, CA 9Q0&~-6Q06
  (31~} 27i~0077 ~ax,~310)277-673
    Caiifomi~ State Bar plumber: 266280 GA
    xs~dat~ninggilG~s~m




   ❑ Debtor(s) eppear~ng without an sttomey
       ftNnm~u fnr l~r~binr

                                                UtJITEO S7`ATES BAN#CRUP"fCY COURT
                                                CENTR~4L C315Tf~ICT t)~ CALIFt~RhIIA-SA

      re:
                                                                        CASE N4..
                Neycart Inc
                                                                        CHAP7~R: 1'1




                                                                                        VERIFICATIgN t3F tUTASTER
                                                                                       MAILING LIST OF CREDlTOF2S

                                                                                                 [L8l~ 1Q07-1(a)l



 Pursuant to LBR 1007-1{a), the Debtor, or the debtor's a#tomsy if appCicabie, certifies under penal#y of perjury thatthe
 rriasfer mailing list of creditors filed in this bankrupkcy case, consisting of 5 sheet(sj is complete, correct, and
 consistent with the Debtor's schedules and l/we assume all responsibility far err           omissians.

  Cate:     Q2J2$l2024                                                              ~
                                                                ~~           Signature of Debtor 1

  Date:
                                                                             Signature of C?ebtor 2 (joint debtor} }cif app(icable)~~'~'

  pa~~:     02/28/2024                                                             /s/ Zev Shechtman
                                                                             Signature of Attorney for Debtor (if appiieabie}




                    Tlda farm is options! It has boon approved for use io Iha United Stafas Bankruptcy Goutfor[he CenVak piatric~i of GalifWnis.
 Decamhgr2bf5                                                                                     ~ ~~~}~'~.~;~~M..{~V.~.~.~~.~~~1~~~~spl~~~~
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                    Heycart Inc
                    2600 Michelson Dr., #1430
                    Irvine, CA 92612


                    Zev Shechtman
                    banning, Gill, Israel & Krasnoff, LLP
                    1901 Avenue of the Stars,
                    Suite 450
                    Los Angeles, CA 90067-6006

                    United States Trustee - SA
                    411 W 4th Street,
                    Ste 9041
                    Santa Ana, CA 92701-4593
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                    Sellersfunding
                    1290 Weston Rd.,
                    Suite 306
                    Fort Lauderdale, FL 33326

                    U.S. Small Business Administration
                    10737 Gateway West
                    # 300
                    El Paso, TX 79935


                    8Fig
                    1717W6thSt
                    Suite 335
                    Austin, TX 78703

                    Amazon
                    410 Terry Ave N
                    Seattle, WA 98109


                    Amy Li
                    2553 Chino Hills Parkway,
                    Suite C
                    Chino Hills, CA 91709


                    BlueX Trade
                    104, Taiwan, Taipei City
                    Zhongshan District, Section
                    2, Nanjing E Rd, no.132 11F


                    Cirro
                    14779 Bar Harbor Road
                    Fontana, CA 92336


                    Clearco dba Clearbanc
                    33 Yonge St, Suite 1200
                    Toronto, ON M5E 1G4
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                    E BI Son INTERNATIONAL LTD
                    No. 24, Lesperance Complex,
                    Providence Industrial Estate
                    Mahe, Syechelles


                    Fujian Bridge Style Furnishings Co.
                    4th Floor, Plant 8, No 3 Tieling
                    East Road, Jingxi Town,
                    Minhou County, Fuzhou


                    Fuzhou Yibang Plastic Co.ltd
                    3F No 58 Zhaishan Road, Houshan
                    Village Minhou Fuzhou FJ 350109
                    China


                    Leventa
                    1752 Northwest Market Street
                    Unit 4364
                    Seattle, WA 98107


                    Lidan Zheng
                    2600 Michelson Dr., #1430
                    Irvine, CA 92612


                    Mastercard
                    2000 Purchase Street
                    Purchase, NY 10577


                    Neo Regal(Xiamen) Industrial Co.,Lt
                    #503 Ganghang Building, #29
                    Donggang North Road,
                    Xiamen 361000, China


                    Ningbo Kingdom Home Fashion Co. Ltd
                    No. 169 North Linyu Road
                    Zhenhai, NingBo P.C: 315207
                    China
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                        Panda Logistics USA Inc
                        1 Civic Plaza Dr STE 555Ca
                        rson, CA 90745


                    Shenzhen Minshunlong Co., Ltd
                    # 1601 Wanhui Building
                    No 3, Longhe Road,
                    Longgang District, Shenzen


                    Tongcheng Logistics Inc.
                    566 Vanguard Way
                    Unit A, Brea,CA 92821


                    V Plus Packing
                    No 1 Building, Xinchang Road
                    Haicang District, Xiamen
                    Fujian, China


                    Victory Maritime Services USA
                    333 City Blvd W
                    Ste 1210
                    Orange, CA 92868


                    Visa Inc.
                    900 Metro Center Blvd.
                    San Mateo, CA 94404


                    Xiamen Ruihe Xingyi Trading Co. Ltd
                    1301-2, Building 1,Meifeng Chuanggu
                    Xike Town, Tongan Distric
                    Xiamen, China


                    Xiamen Youlike Houseware Co.,Ltd
                    Room 511, No. 1, No. 39, Xinchang
                    Road, Haicang District, Xiamen
                    Fujian China 361026
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                    Yangjiang Homelife Industry & Tradi
                    3/F, No. 16, Building H, Green Lake
                     Garden, XinJiang North Road
                     Yangjiang, 529500


                    Yangjiang Kimberi Trading Co., Ltd.
                    No. 12 Nawei Industrial Zone II
                    Dongcheng Town
                    Yangdong District, Yangjiang


                    Yiwu Beta Trading Co., Ltd
                    Floor 9, Gefeng Mansion,
                    Chengbei Road, Houzhai Subdistrict
                    Yiwu, Zhejiang, China 322008


                    Zenpack
                    1050 N. 5th St, Ste #30
                    San Jose, CA 95112


                    SPUS8
                    2600 Michelson, LP, c/o CBRE, Inc
                    2600 Michelson Dr., #100
                    Irvine, CA 92612


                    Tony Li
                    2600 Michelson Dr., #1430
                    Irvine, CA 92612


                    Aiden Chien
                    2600 Michelson Dr., #1430
                    Irvine, CA 92612



                    Tony Li
                    2600 Michelson Dr., #1430
                    Irvine, CA 92821
